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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DEBORAH LAUFER,                           :
         Plaintiff,                       :              Case No: 3:20-cv-00941-RNC
                                          :
v.                                        :
                                          :
                                          :
NATRUM ASSOCIATES,                        :
            Defendant .                   :              NOVEMBER 3, 2020
__________________________________________:

         PLAINTIFF’S REPLY TO OBJECTION TO PRO HAC VICE MOTION

       Plaintiff, by and through undersigned counsel, hereby replies to the Defendant’s

Objection (DE 28) to our Motion to Admit Attorney Thomas Bacon Pro Hac Vice as follows:

1. In 2018, Attorney Bacon was admonished, along with several other plaintiff’s attorneys

engaged in private ADA enforcement actions, for failure to “comply with the Federal Rules of

Civil Procedure, Local rules and the Court’s orders on one or more occasions.” by which the

court issued order to these ADA attorneys to report any and all adverse orders issued during a

one year period. The Court closed the matter after that year having been satisfied that no

additional infractions occurred. See Exhibit 1, Attorney Thomas Bacon Declaration at para. 1.

2. While the Defendant’s objection quotes the Orlando Sentinel which reported “61 negative

orders,” these order were legally challenged and the court collapsed its fnding to “one or more

occasions.” DE 46 at 7. See Exhibit 1, Attorney Thomas Bacon Declaration at para. 2.

3. These roundups of plaintiff’s attorneys practicing civil rights enforcement and ADA

enforcement litigation had no defense attorney correlate consistent with the open hostility toward

these plaintiffs by Judge Dalton, a hostility that was verbalized in open court, on the record more



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than once. See Exhibit 1, Attorney Thomas Bacon Declaration at para. 3.

4. In response to the Show Cause Order, Attorney Bacon pointed out that the majority of what

the court was qualifying as “negative orders” were without merit, including rulings against

standing, denials of default, orders that actually pertained to defense attorneys and a long list of

decisions that were not the result of any failure to comply with the procedural rules. The Court

then collapsed the finding down to “one or more occasions.” See Exhibit 1, Attorney Thomas

Bacon Declaration at para.4.

5. The Defenant erroneously concluded that the reference to mproper use of ADA experts

referred to Attorney Bacon practice; it did not. The Court was fully satisfied that Attorney Bacon

did not engage in such practices. See Exhibit 1, Attorney Thomas Bacon Declaration at para. 5.

WHEREFORE, for the foregoing reasons, the Defendant’s Objection should not prevent the

admission pro hac vice of Attorney Thomas B. Bacon in this matter.


                                                               Respectfully submitted,

                                                               The Plaintiff, DEBORAH LAUFER,

                                                               By: /s/ L. Kay Wilson
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                                  Certificate of Service

       I hereby certify that a true and correct copy of the foregoing REPLY TO OBJECTION
TO ADMISSION PRO HAC VICE was served on all counsel of record via the Court’s CM/ECF
system this 3rd day of November, 2020.

                                                           By: /s/ L. Kay Wilson




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